      Case 3:17-cv-00939-WHA Document 335-1 Filed 05/02/17 Page 1 of 3




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                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                     DECLARATION OF JORDAN JAFFE IN
                                                  SUPPORT OF PLAINTIFF WAYMO
       vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                  FILE UNDER SEAL PORTIONS OF
 UBER TECHNOLOGIES, INC.;                      WAYMO’S RESPONSES TO QUESTIONS
    OTTOMOTTO LLC; OTTO TRUCKING                  FOR HEARING ON PLAINTIFF’S
 LLC,                                          MOTION FOR PROVISIONAL RELIEF
                Defendants.

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                                                                      CASE NO. 3:17-cv-00939-WHA
                                       JAFFE DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
         Case 3:17-cv-00939-WHA Document 335-1 Filed 05/02/17 Page 2 of 3




 1 I, Jordan Jaffe, declare as follows:

 2            1.     I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am a partner at the law firm Quinn Emanuel Urquhart & Sullivan, LLP,

 4 counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set forth

 5 in this Declaration, and if called as a witness I would testify competently to those matters.

 6            2.     I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal Portions of Waymo’s Responses To Questions For Hearing on Plaintiff’s Motion For Provisional

 8 Relief (the “Administrative Motion”). The Administrative Motion seeks an order sealing the

 9 following materials:

10                         Document                  Portions to Be Filed        Designating Party
                                                         Under Seal
11             Waymo’s Responses To Questions       Highlighted Portions      Waymo (green
               For Hearing on Plaintiff’s Motion                              highlighting);
12
               For Provisional Relief (“Waymo’s                               Uber1 (blue
13             Responses”)                                                    highlighting)

14
              3.     Waymo’s Responses contain references to Waymo’s trade secret information, which
15
     Waymo seeks to seal. The references describe Waymo trade secrets with specificity, including their
16
     description, development, and implementation.
17
              4.     I understand that these trade secrets are maintained as secret by Waymo (Dkt. 24-15)
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     and are valuable as trade secrets to Waymo’s business (Dkt. 24-3). The public disclosure of this
19
     information would give Waymo’s competitors access to descriptions of the functionality of Waymo’s
20
     autonomous vehicle system. If such information were made public, I understand that Waymo’s
21
     competitive standing would be significantly harmed.
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              5.     Waymo’s request to seal is narrowly tailored to those portions of Waymo’s Objections
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     that merit sealing.
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27   1
         “Uber” means Uber Technologies, Inc., Ottomotto LLC, and Otto Trucking LLC, collectively.
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                                                      -2-                   CASE NO. 3:17-cv-00939-WHA
                                            JAFFE DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 335-1 Filed 05/02/17 Page 3 of 3




 1          6.      Waymo only seeks to seal the portions of Waymo’s Responses (highlighted blue)

 2 identified in the table above, because Waymo believes such information is considered confidential or

 3 non-public by Uber.

 4          I declare under penalty of perjury under the laws of the State of California that the foregoing is

 5 true and correct, and that this declaration was executed in San Francisco, California, on May 2, 2017.

 6                                                  By /s/ Jordan Jaffe
                                                       Jordan Jaffe
 7                                                     Attorneys for WAYMO LLC
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                                             JAFFE DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
